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  13   EVOLV, LLC
  14
                                  UNITED STATES DISTRICT COURT
  15
                             CENTRAL DISTRICT OF CALIFORNIA
  16
                                       SOUTHERN DIVISION
  17
       EVOLV, LLC,                              Case No. 8:16-cv-00459-CJC-JCG
  18
                     Plaintiff,
  19                                            STIPULATION TO DISMISS ALL
                v.                              CLAIMS AND COUNTERCLAIMS
  20                                            WITH PREJUDICE
       JOYETECH USA, INC., JOYETECH
  21   (CHANGZHOU) ELECTRONICS
       CO., LTD., and WISMEC INDUSTRY
  22   CO. LTD.,
  23                 Defendants.
  24   JOYETECH USA, INC.,                      Judge:              Cormac J. Carney
                                                Action Filed:       March 9, 2016
  25                 Counterclaimant,
       v.
  26
       EVOLV, LLC,
  27
                     Counterdefendant.
  28
                                                       STIPULATION TO DISMISS ALL CLAIMS WITH
                                                                                    PREJUDICE
       609041270.1
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   1                                     STIPULATION
   2            IT IS HEREBY STIPULATED by and between Plaintiff and
   3   Counterdefendant Evolv, LLC. ("Evolv") and Defendant and Counterclaimant
   4   Joyetech USA, Inc. ("Joyetech USA"), Defendant Joyetech (Changzhou)
   5   Electronics Co., Ltd., and Defendant Wismec Industry Co., Ltd. (collectively, the
   6   "Parties"), by and through the Parties' designated counsel as follows:
   7            WHEREAS, Evolv filed an action in the Central District of California against
   8   Joyetech USA and the other defendants alleging patent infringement of U.S. Patent
   9   No. 8,820,330, and Defendant Joyetech USA filed various counterclaims against
  10   Evolv, which action has been assigned Case No. 8:16-cv-00459-CJC-JCG (the
  11   "Action");
  12            WHEREAS, the Parties have entered into a settlement of all claims asserted
  13   by Evolv against Defendants Joyetech USA, Inc. ("Joyetech"), Joyetech
  14   (Changzhou) Electronics Co., Ltd.,Wismec Industry Co., Ltd. (collectively,
  15   "Defendants"), and Joyetech USA’s counterclaim against Evolv in the Action;
  16            WHEREAS, pursuant to the terms of settlement among the Parties, the
  17   Parties agree that all claims and counterclaims asserted against one another,
  18   including Evolv's claims against Defendants and Joyetech USA's counterclaims
  19   against Evolv, should be dismissed in their entirety with prejudice;
  20            WHEREAS, each respective Party shall bear its own costs and attorneys' fees
  21   in connection with the Action;
  22            IT IS SO STIPULATED by and between the Parties through their designated
  23   counsel that all of Evolv's claims against Defendants and all of Joyetech USA's
  24   counterclaims against Evolv in the above-captioned action shall be dismissed with
  25   prejudice pursuant to Federal Rule of Civil Procedure 41(a)(2), each Party to bear
  26   their own respective fees and costs.
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                                                          STIPULATION TO DISMISS ALL CLAIMS WITH
                                                 1                                     PREJUDICE
       609041270.1
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       Dated: August 11, 2016             BAKER & HOSTETLER LLP
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                                          Counterclaimant Joyetech USA, Inc.
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                                                    STIPULATION TO DISMISS ALL CLAIMS WITH
                                            2                                    PREJUDICE
       609041270.1
